
The People of the State of New York, Respondent,
againstPramilla Malick, Appellant.




Sussman &amp; Associates (Michael H. Sussman of counsel), for appellant.
Orange County District Attorney (Andrew R. Kass of counsel), for respondent.
Consolidated
 appeal from (1) a judgment of the Justice Court of the Town of Wawayanda, Orange County (Timothy P. McElduff, Jr., J.), rendered June 7, 2017, and (2) an amended sentence of that court rendered June 29, 2017. The judgment convicted defendant, after a nonjury trial, of disorderly conduct, and imposed sentence. The amended sentence vacated the fine that had been previously imposed and resentenced defendant to a term of imprisonment.




ORDERED that so much of the appeal as is from the portion of the judgment of conviction that imposed sentence is dismissed as academic, as that portion of the judgment of conviction was superseded by defendant's resentence on June 29, 2017; and it is further,
ORDERED that the judgment of conviction, insofar as reviewed, is affirmed; and it is further,
ORDERED that the appeal from the amended sentence is dismissed as abandoned.
Defendant was charged in an accusatory instrument with disorderly conduct (Penal Law § 240.20 [5]). Following a nonjury trial, defendant was convicted as charged. Defendant appeals from the judgment of conviction and from an amended sentence which vacated the fine that had been previously imposed and resentenced defendant to a term of imprisonment.
For the reasons stated in People v Cromwell (___ Misc 3d ____, 2019 NY Slip Op ____ [appeal No. 2017-1310 OR CR], decided herewith), the judgment of conviction, insofar as [*2]reviewed, is affirmed, and the appeal from the amended sentence is dismissed.
ADAMS, P.J., RUDERMAN and EMERSON, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: June 13, 2019










